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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CaseNo.20-60081-CR-DN ITROULEA S

  UNITED STATES OF AM ERICA

  V S.

  FAB IO LOPEZ,

                 D efendant.
                                      /

                             AGREED FACTUAL BASIS FOR PLEA

                 H ad thiscaseproceeded to trial,thepartiesagreethattheUnited Stateswould
  haveproven thefollowing factsbeyond areasonable doubt:l

         On January 20,2020,a 16 yearold female child (ddvictim 1') and hermother,H.L.,
  responded tothePembrokePinesPoliceDepartm entto reportthatLOPEZ had comm itted asexual

  battery upon V ictim 1. H .L.advised law enforcem entthatshe had traveled outofthe country in

  November of 2018 and m et LOPEZ atthe M iam i lntem ational Airportwhere he was then

  employed as an officer for Customs and Border Protection (tïCBP''). H.L. advised 1aw
  enforcementthatshemetLOPEZ whilebeing detainedby him ontlaejetway asshedeparted for
  an internationalflight. H .L.advised thatLO PEZ asked herforherphone num ber. H .L.provided

  LOPEZ witllherphone num berand developed a friendship w ith him . D uring the course oftheir

  friendshipaLOPEZ visited H.L.'Sresidçnce and wasintroduced to H .L.'Sminorchildren;Victim

  1 and herbrother. LOPEZ w asm ade aw are thatVictim 1 w asa m inor.H .L .discussed herand her

  children's residency and citizenship status in the U nited States w ith LOPEZ on variousoccasions.




  lThese arenotal1ofthefactsthattheUnited Stateswould haveproven
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  As arlofficer for CBP,LOPEZ gave H.L.theim pression thathe could help herand herfam ily

  w ith theirresidency. H .L reported thatshe w as in fearofLOPEZ.

         From on or about July 2019 through about January 2029,while Victim 1 resided in
  Brow ard County,LO PEZ began texting V ictim 1 using the w eb-based application ttW hatsA pp,''

  in addition to directcellulartelephone calls. D uring the conversationsusing a celiulartelephone,

  LOPEZ m ade com m ents to V ictim 1 abouthow beautifulshe w as and told her thathe w as there

  tohelp her.LOPEZ advised Victim 1hecouldprovideherwithm oney ifsheneeded itand offered

  to pick her up 9om schoolon severaloccasions.On January 17,2020,LOPEZ coordinated a

  m eeting with Victim 1using acellulartelephoneand arranged to m eetVictim 1in theparking 1ot

  ofher apartmentcomplex in Pem brokePines,Florida. Victim 1 advised 1aw enforcem entthat

  LOPEZ was dressed in his CBP unifonn and had a firesrm displayed on his waistduting this

  m eeting. LO PEZ told V ictim 1 to sitin the passenger seatofhisSU V. W hile parked in a parking

  spot,LOPEZ told Victim 1thatshecould m akemoney by letting him take fçsqxy''photographsof

  herin lingerie.LOPEZ furtherexplained to Victim 1 thathewouldbethe one taking thephotos

  andthattheycouldjotoahoteltotakethem.LOPEZ thenfondledVictim 1'sbreastsandbegan
  totoucllhervagina.LOPEZ then asked Victim 1ifhecouldldssherandVictim 1refused.Victim

  1 subsequently told herm otherwhathad transpired,and they w entto the police station.O n January

  21,2020,via textm essage,LOPEZ reiterated to V ictim 1 thathe w anted to take picturesofherin

  sexy lingerie and thatshewould bepaid in exchange forproducing thephotos. LOPEZ assured

  v ictim 1 thathe w ould be tlze one taldng the photos and thathe w ould take her to a safe place.

  LOPEZ also told Victim 1thatherm otherwouldneverhavetoknow aboutthephotographs.

         On February 27,2020,law enforcem entreceived consent9om H .L.to assum e thepersona

  of V ictim 1 on her cellular teiephone. On February 28,2020,an agentacting in an undercover


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  (<<UC'')capacity purportingtobeVictim 1,textedwithLOPEZ regarding how and whentotake
  the photographs they had previously discussed. D espite indicating that he did not w ant to

  com municatevia textm essage,LOPEZ texted theU C purporting to beVictim 1,and repeatedly

  attempted to schedule an in person m eeting w ith her. On M arch 9,2020,during a textm essage

  conversation with theU C purporting to beV ictim 1,LOPEZ com m unicated to theU C purporting

  to be V ictim 1 thatshe should shave in betw een herlegs to prepare forthe photographs. LO PEZ

  confirmed thathewouldfocusthe camerain between Victim 1'slegsand tlzatherfacewould not

  bedepictedin theim age.TheUC pmportingtobeVictim 1texted with LOPEZ and expressed her

  nervousness regarding taking the photographs and asked LOPEZ if he w ould bring her favorite

  snacksto calm her,flam ing hotCheetosand N utella.LO PEZ and the U C purporting to be Victim

  1 scheduled an in-person m eeting in D avie,Florida. O n M arch 10,2020,LOPEZ arrived atthe

  m eeting location and w as taken into custody. LOPEZ was read his M iranda warnings and

  know ingly w aived them . In a video and audio recorded interview , LOPEZ advised 1aw

  enforcem entthathe had reserved ahotelroom to take V ictim 1back to. LOPEZ indicated thathe

  had goneto thehotelearlierin thedayto drop offVictim 1'sfavoritefoodsand lingerie. Law




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  enforcementsearchedthehotelroom andrecovered severalitem soflingerieaswellasprescription

  m edication for erectile dysfunction. LOPEZ inform ed law enforcem enttbathe intended to take

  photographsofVictim 1 wearing the lingerie with the cam era on Victim 1's cellulartelephone.

  The defendant agrees thatattem pted production of child pornography constim tes sexual activity

  underTitle18,United StatesCode,Section2422(17)forwhichhewascharged.


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